                  Case5:15-cr-00226-EJD Document24 Filed07/02/15 Page1 of 4



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                                      UNITED STATES DISTRICT COURT
11
                                    NORTHERN DISTRICT OF CALIFORNIA
12
                                               SAN JOSE DIVISION
13

14   UNITED STATES OF AMERICA,                         )   NO. CR-15-00226-BLF
                                                       )
15            Plaintiff,                               )   UNITED STATES’ MOTION IN LIMINE NO. 2
                                                       )   TO PRECLUDE IMROPER EVIDENCE AND
16       v.                                            )   ARGUMENT
                                                       )
17   DOUGLAS STROMS YORK,                              )   Pretrial Conference: July 16, 2015
                                                       )   Trial Date: July 20, 2015
18            Defendant.                               )
                                                       )   Honorable Beth L. Freeman
19

20            The United States hereby respectfully submits the following Motion in Limine.
21 I.         The Defendant Should Be Precluded from Introducing Improper Argument and Evidence.
22            The government moves this Court to prohibit the defendant from arguing and presenting
23 evidence designed to elicit jury nullification, that is, from pursuing lines of inquiry that are not legal

24 defenses to the charges in the indictment. “An unreasonable jury verdict, although unreviewable if it is

25 an acquittal, is lawless, and the defendant has no right to invite the jury to act lawlessly. Jury

26 nullification is a fact, because the government cannot appeal an acquittal; it is not a right, either of the
27 jury or the defendant.” United States v. Perez, 86 F.3d 735, 736 (7th Cir. 1996); see also United States

28
     MOTION IN LIMINE TO PRECLUDE IMROPER EVIDENCE AND ARGUMENT
     CR-15-00226-BLF
                                          1
30
                 Case5:15-cr-00226-EJD Document24 Filed07/02/15 Page2 of 4



 1 v. Sepulveda, 15 F.3d 1161, 1190 (1st Cir. 1993) (“Neither court nor counsel should encourage jurors to

 2 exercise [nullification] power… A trial judge, therefore, may block defense attorneys’ attempts to

 3 serenade a jury with the siren song of nullification.”)

 4          This Circuit has never recognized a right held by defendants to seek nullification of a guilty

 5 verdict. See Zal v. Steppe, 968 F.2d 924, 930 (9th Cir. 1992) (Trott, J., concurring) cert. denied, 113

 6 S.Ct. 656 (1992); United States v. Powell, 955 F.2d 1206, 1213 (9th Cir. 1991); United States v.

 7 Simpson, 460 F.2d 515, 518-19 (9th Cir. 1972). “As [a defendant] has no right to seek jury nullification,

 8 he has no right to present evidence relevant only to such defense.” United States v. Griggs, 1995 WL

 9 7669 *3 (C.A.9 1995), cert denied, 115 S.Ct. 1415 (1995). Citing Zal, id., a defendant has “no
10 constitutional right to present evidence merely to ‘bring out the reason for [his] actions.’ Id. at 929.

11          Although the government cannot predict each and every form of nullification defendant might

12 invoke, the following serve as examples:

13          A.      Victim’s Bad Acts and Character for Untruthfulness

14          The defendant should be prohibited from arguing or presenting evidence regarding Andrea York,

15 his estranged wife’s, behavior or alleged bad acts or character for untruthfulness. Federal Rules of

16 Evidence Rule 608 prohibits extrinsic evidence to prove specific instances of a witness’s conduct in

17 order to attack or support the witness’s character for truthfulness. Such evidence or argument is

18 irrelevant to the defendant’s guilt. Ms. York’s truthfulness or prior actions are not relevant to the

19 charge, as defendant’s conduct was what gave rise to the federal charges.

20          Rule 403 of the Federal Rules of Evidence provides further that even relevant evidence may be

21 inadmissible, “if its probative value is substantially outweighed by the danger of unfair prejudice.” The

22 Ninth Circuit Model Jury Instructions explicitly instruct jurors to “not be influenced by any personal

23 likes or dislikes, opinions, prejudices, or sympathy.” § 3.1 (2010 Ed.). Here, there is no probative value

24 for introducing the victim’s conduct. Moreover, there is substantial risk that the jury would be

25 improperly influenced by dislike of the victim should the defendant be allowed to present evidence that

26 victim may have acted in a negative manner during the divorce proceedings. Presenting this evidence
27 would be aimed simply to negate defendant’s culpability for his behavior that led to the current charges.

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     MOTION IN LIMINE TO PRECLUDE IMROPER EVIDENCE AND ARGUMENT
     CR-15-00226-BLF
                                          2
30
                 Case5:15-cr-00226-EJD Document24 Filed07/02/15 Page3 of 4



 1 This would constitute improper evidence intended only to outweigh or nullify his misconduct in this

 2 case and gain sympathy or divert blame from the jury.

 3          B.      Potential Punishment

 4          The government moves to preclude, as irrelevant and prejudicial, any reference by the defense to

 5 the defendant’s potential sentence during all phases of the trial (including jury selection, opening

 6 statements, examination of witnesses, including the defendants if they elect to testify, and summation).

 7 That reference could be as overt as, “You understand the defendant is facing a potential life prison term

 8 if convicted,” or more subtle such as, “the defendant is facing a lot of time,” “this case has serious

 9 consequences for the defendant,” “the defendant’s liberty is at stake in this trial,” or “your decision will
10 have consequences for a long time to come.” Once the jury hears anything about punishment, the bell

11 simply cannot be un-rung or the damage neutralized by a curative instruction.

12          “It has long been the law that it is inappropriate for a jury to consider or be informed of the

13 consequences of their verdict.” United States v. Frank, 956 F.2d 872, 879 (9th Cir. 1992). As explained

14 in Pope v. United States, 298 F.2d 507 (5th Cir. 1962):

15          To inform the jury that the court may impose minimum or maximum sentence, will or will not

16 grant probation, when a defendant will be eligible for parole, or other matters relating to disposition of

17 the defendant, tend to draw the attention of the jury away from their chief function as sole judges of the

18 facts, open the door to compromise verdicts and to confuse the issue or issues to be decided. Id. at 508;

19 see also Shannon v. United States, 512 U.S. 573, 579 (1994) (“[P]roviding jurors sentencing information

20 invites them to ponder matters that are not within their province, distracts them from their fact-finding

21 responsibilities, and creates a strong possibility of confusion”); Rogers v. United States, 422 U.S. 35, 40

22 (1975) (explaining that jury should have been admonished that it “had no sentencing function and

23 should reach its verdict without regard to what sentence might be imposed”); United States v. Reed, 726

24 F.2d 570, 579 (9th Cir. 1984) (holding that trial judge properly instructed jury that the “punishment

25 provided by law for the offenses charged in the indictment are matters exclusively within the province of

26 the court. It should never be considered by the jury in any way in arriving at an impartial verdict as to
27 the guilt or innocence of the accused”). Therefore, defense counsel should be precluded from making

28
     MOTION IN LIMINE TO PRECLUDE IMROPER EVIDENCE AND ARGUMENT
     CR-15-00226-BLF
                                          3
30
                Case5:15-cr-00226-EJD Document24 Filed07/02/15 Page4 of 4



 1 any reference in the presence of the jury to punishment in statements, questions or argument.

 2 II.      Conclusion

 3       For all of the foregoing reasons, the Court should rule as set forth above if and when the issues

 4 identified arise. The Government would respectfully reserve the right to supplement this motion in

 5 limine if additional issues requiring the Court’s ruling arise.

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 7 DATED: July 2, 2015                                    Respectfully submitted,

 8                                                        MELINDA HAAG
                                                          United States Attorney
 9
                                                          /s/
10                                                        BRIANNA PENNA
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11                                                        Assistant United States Attorneys
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     MOTION IN LIMINE TO PRECLUDE IMROPER EVIDENCE AND ARGUMENT
     CR-15-00226-BLF
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